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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF GEORGIA
                                   VALDOSTA DIVISION

 MICHAELA UNDERWOOD, et al.,                       *

                      Plaintiffs,                  *
 v.                                                    Case No. 7:21-cv-40 (WLS)
                                                   *
 GENE SCARBROUGH, et al.,
                                                   *
                   Defendants.
 ___________________________________               *


                                      JUDGMENT

      Pursuant to this Court’s Order dated April 4, 2024, and for the reasons stated therein,

JUDGMENT is hereby entered dismissing this case.

       This 4th day of April, 2024.

                                          David W. Bunt, Clerk


                                          s/ Kathleen S. Logsdon, Deputy Clerk
